

Matter of Weil (2023 NY Slip Op 04252)





Matter of Weil


2023 NY Slip Op 04252


Decided on August 10, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:August 10, 2023

PM-167-23
[*1]In the Matter of Stephen Irwin Weil, an Attorney. (Attorney Registration No. 2004166.)

Calendar Date:July 31, 2023

Before:Egan Jr., J.P., Clark, Pritzker, Ceresia and McShan, JJ.

Stephen Irwin Weil, Houston, Texas, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Stephen Irwin Weil was admitted to practice by this Court in 1985 and lists a business address in Houston, Texas with the Office of Court Administration. Weil now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Weil's application.
Upon reading Weil's affidavit sworn to May 24, 2023 and filed June 1, 2023, and upon reading the July 26, 2023 correspondence in response by the Chief Attorney for AGC, and having determined that Weil is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Egan Jr., J.P., Clark, Pritzker, Ceresia and McShan, JJ., concur.
ORDERED that Stephen Irwin Weil's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Stephen Irwin Weil's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Stephen Irwin Weil is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Weil is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Stephen Irwin Weil shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








